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                                   8                                 UNITED STATES DISTRICT COURT
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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12    COUNTY OF MONTEREY,                                 Case No. 17-CV-04260-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                           ORDER RE: CASE SCHEDULE
                                  14            v.

                                  15    BLUE CROSS OF CALIFORNIA, et al.,
                                  16                   Defendants.

                                  17

                                  18          On February 12, 2020, the Court granted Defendant’s motion for summary judgment. ECF

                                  19   No. 149. As a result, the Court hereby VACATES the case schedule, including the February 20,

                                  20   2020 final pretrial conference and the March 16, 2020 bench trial.

                                  21          The Court SETS a case management conference on February 26, 2020, at 2:00 p.m. In lieu

                                  22   of filing a joint case management statement on February 19, 2020, the Court hereby orders the

                                  23   parties to file by noon on February 24, 2020 a joint statement identifying how the parties would

                                  24   like to proceed. The Court asks the parties to consider the following options:

                                  25          (1) Whether the parties would like to conduct another private mediation; and

                                  26          (2) Whether the parties would like the Court to certify its February 12, 2020 order for

                                  27              interlocutory appeal and otherwise stay the case; or

                                  28                                                    1
                                       Case No. 17-CV-04260-LHK
                                       ORDER RE: CASE SCHEDULE
                                         Case 5:17-cv-04260-LHK Document 150 Filed 02/12/20 Page 2 of 2




                                   1          (3) Whether the parties would like to set a case schedule to litigate the next set of claims.

                                   2   IT IS SO ORDERED.

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                                   4   Dated: February 12, 2020

                                   5                                                    ______________________________________
                                                                                        LUCY H. KOH
                                   6                                                    United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 17-CV-04260-LHK
                                       ORDER RE: CASE SCHEDULE
